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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
FORT MYERS DIVISION
GAUDENCIO GARCIA-CELESTINO, et al.,
individually, and on behalf of all other persons
similarly situated,

Plaintiffs,

Vv. Case No. 2:10-cev-00542-MEA-UAM

CONSOLIDATED CITRUS LIMITED PARTNERSHIP,

Defendant.
/

SETTLEMENT AGREEMENT, FULL AND FINAL RELEASE
AND COVENANT NOT TO SUE

This Settlement Agreement, Full and Final Release Covering All Claims and Rights
of Every Description and Covenant Not to Sue (hereinafter referred to as “Agreement”), is
entered into by and between:

a) Consolidated Citrus Limited Partnership, and each of its present, past, and
future affiliates, predecessors, successors, assigns, insurers, owners,
partners, joint venturers, shareholders, servants, officers, directors, board or
governing members, employees, agents, principals, relatives, spouses,
representatives, beneficiaries, alter egos and attorneys; and,

b) Emesto Aguilar Bocanegra, Porfirio Aguilar Fabian, Miguel Aguilar
Guerrero, Felipe Angeles Gallardo, Rodolfo Caballero Palacio, Reynaldo
Camacho Garcia, Daniel Ferro Nieves, Jose Manuel Ferro Nieves, Eduardo
Flores Aguilar, Gaudencio Garcia Celestino, Esiquio Garcia Martinez,

Espiridion Gonzalez Martinez, Pascual Guerrero Fabian, Antonio Martinez,
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Francisco Mata Cruz, Juaquin Resendiz Alvarez, Jesus Rojas Maldonado,
Ramon Ruiz Landeros, and Martin Ruiz Olanderos (collectively, the FLSA
Plaintiffs”); and
c) Florida Legal Services, Inc., and each of its present, past, and future
affiliates, predecessors, successors, assigns, insurers, owners, partners, joint
venturers, shareholders, servants, officers, directors, board or governing
members, employees, agents, principals, relatives, spouses, representatives,
beneficiaries, alter egos and attorneys (collectively, “FLS”).
WHEREAS, the Plaintiffs filed their original complaint in the United States District
Court for the Middle District of Florida, Case Number 2:10-cv-00542-CEH-DNF, against
Ruiz Harvesting, Inc. (“Ruiz Harvesting”) Basiliso Ruiz, individually (“Ruiz”), and
Consolidated Citrus Limited Partnership (“CCLP”) (collectively, “Defendants”), alleging
violations of the Fair Labor Standards Act, the minimum wage provisions of the Florida
Constitution, Article 10 §24, breach of a work contract, violations of H-2A regulations, a
failure to provide wage and transportation benefits, a failure to maintain payroll records
and a failure to issue wage statements, a failure to fully reimburse the Plaintiffs for the cost
of Plaintiffs’ inbound and outbound transportation between the Defendants’ worksite and
the workers’ homes in Mexico; and,
WHEREAS all Defendants responded to the Plaintiffs’ Complaint and Amended
Complaint by denying any legal responsibility for the asserted violations; and,
WHEREAS, for sufficient consideration Urbano Sanchez-Rodriguez, Leopoldo
Trejo-Carrillo, Roberto Vasquez Escobar, Israel Ugalde Eguia and Francisco Suarez-

Galvan (“Settling Plaintiffs”) entered into full and complete Settlement Agreements and
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provided Releases covering all legal claims and rights of action they had against the
Defendants, and such Settlement Agreements were approved as fair and reasonable
settlements by the Court (D.E. 78; D.E. 144); and,

WHEREAS, the remaining Plaintiffs and members of the certified class
(“Remaining Plaintiffs”) entered into full and complete Settlement Agreements and
provided Releases covering all legal claims and rights of action they had against Ruiz
Harvesting and Ruiz, and such Settlement Agreements were approved as fair and
reasonable settlements by the Court (D.E. 160); and,

WHEREAS following the adjudication of the parties’ cross motions for summary
judgment and a six-day bench trial involving the claims of the Remaining Plaintiffs against
CCLP, the Court entered judgment in favor of CCLP as to the (1) individual FLSA claims
of Plaintiffs Porfirio Camacho Garcia, Raymundo Cruz Vicencio, Raul Ismael Estrada
Gabriel, J. Carmen Gonzalez Caballero, Juvenal Gonzalez Juarez, Simon Guzman Romero,
Procoro Martinez Aguilar, Alfredo Mora Martinez, Jose Jesus Romero Rojas and Luis
Vega Camacho, and (2) the breach of contract claims of certified class members Carmelino
Garcia Martinez, Juan Hernandez, and Antonio Rodriguez Acevedo, while entering
judgment in favor of the Remaining Plaintiffs on their asserted breach of contract claims,
and in favor of nineteen of those Remaining Plaintiffs identified as having Fair Labor
Standards Act damages as shown in D.E. 233-2 for minimum wage violations for the 2008-
2009 citrus harvest season (“FLSA Plaintiffs”)(D.E. 249); and

WHEREAS CCLP timely pursued an appeal of the adverse judgment finding it
responsible for breach of contract and certain minimum wage claims (D.E. 252), and as a

consequence of its appellate review, the Eleventh Circuit affirmed the judgment in favor
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of the FLSA Plaintiffs for minimum wage violations for the 2008-2009 citrus harvest
season, while reversing the District Court’s determination that the FLSA’s “suffer or permit
to work” standard applied to the breach of contract claims against CCLP, and remanding
the issue of CCLP’s liability to the Remaining Plaintiffs for breach of contract under the
H-2A Program for analysis under common law principles of agency. (D.E. 270). Garcia
Celestino y. Ruiz Harvesting, Inc., 843 F.3d 1276, 1293, 1295 (11th Cir. 2016) (Garcia
Celestino I’); and,

WHEREAS the District Court on remand determined that CCLP qualified as a joint
employer under the H-2A Program (D.E. 283), which resulted in entry of an amended
judgment in favor of the Remaining Plaintiffs on their asserted breach of contract claims
(D.E. 286); and

WHEREAS CCLP timely pursued a second appeal of the adverse judgment finding
it responsible for breach of contract, and its appeal resulted in the amended judgment of
liability for the Remaining Plaintiffs’ breach of contract claims being vacated (D.E. 290)
and remanded to the District Court for the entry of an Amended Judgment in favor of CCLP
on the Remaining Plaintiffs’ breach of contract claims (D.E. 298); and

WHEREAS following the entry of the Amended Judgment, the FLSA Plaintiffs
and CCLP filed separate applications to be awarded costs, and on May 10, 2019, the Court
determined that the FLSA Plaintiffs were prevailing parties and awarded them $2,892.60
in trial attorney’s fees, $16,615.70 in appellate attorney’s fees, and $28,194.82 in costs

(D.E. 30-8); and
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WHEREAS CCLP asserts that the Court’s award of costs to the FLSA Plaintiffs
in the amount of $28,194.82 (the “costs award”) constitutes legal error and is prepared to
seek a timely appeal of the Court’s decision in this regard to the Eleventh Circuit; and

WHEREAS in lieu of proceeding with a timely appeal, counsel for CCLP and the
FLSA Plaintiffs have discussed the merits of a conciliated resolution of the costs award
that would being this protracted litigation to an end without the need for further appellate
proceedings.

THEREFORE, in consideration of the promises and mutual covenants herein
contained, the sufficiency of which is hereby acknowledged, the FLSA Plaintiffs and
CCLP hereto agree as follows:

i. CCLP agrees to pay to FLS a total of Two Thousand Eight Hundred Ninety-
Two Dollars and Sixty Cents ($2,892.60) representing the stipulated amount of FLSA trial
attorney’s fees awarded to the FLSA Plaintiffs, and Sixteen Thousand Six Hundred Fifteen
Dollars and Seventy Cents ($16,615.70) representing the amount of FLSA appellate
attorney’s fees awarded to the FLSA Plaintiffs; and

Z CCLP agrees to forego its right to appeal the costs award and pay to FLS a
total sum of Eleven Thousand Dollars ($11,000.00), and FLS agrees to accept the sum of
Eleven Thousand Dollars ($11,000.00) in full satisfaction of the District Court’s costs
award. In agreeing to forgo its right to appeal, CCLP further releases the Remaining
Plaintiffs from its contention that it is entitled to recover an award of costs against them
individually and severally in the amount of Nine Thousand Three Hundred Ninety-Two

Dollars and Twenty-One cents ($9,392.21)
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3 The settlement proceeds as set forth in Paragraphs 1 and 2 above shall be
paid to “Florida Legal Services, Inc.” in care of the FLSA Plaintiffs’ undersigned counsel.

4. CCLP further agrees to pay the Florida Legal Services Client Trust
Account, for the benefit of the FLSA Plaintiffs, the sum of Two Thousand Seven Hundred
Twenty-Two Dollars and Twenty Cents ($2,722.20), representing the amount of minimum
wage damages awarded by the Court. The FLSA Plaintiffs agree to accept the sum of Two
Thousand Seven Hundred Twenty-Two and Twenty Cents ($2,722.20) in full satisfaction
of the FLSA minimum wages awarded, inclusive of any claim for interest allegedly due.

The amounts payable to each specific FLSA Plaintiff, as reflected in the parties’

stipulation DE-233-2, is as follows:

a. Ernesto Aguilar Bocanegro $118.90
b. Porfirio Aguilar Fabian $253.60
Cc. Miguel Aguilar Guerrero $281.72
d. Felipe Angeles $126.69
e. Rodolfo Caballero Palacio $65.34
f. Reynaldo Camacho Garcia $172.70
g. Daniel Ferro Nieves $8.02

h. Jose Miguel Ferro Nieves $257.95
i; Eduardo Flores Aguilar $193.36
j. Gaudencio Garcia Celestino $161.15
k. Esiquio Garcia Martinez $199.76
lL. Espiridon Gonzalez Martinez $31.09
m. Pascual Guerrero Fabian $78.70
n. Antonio Martinez $215.89
Oo. Francisco Mata Cruz $17.76
p. Juaquin Resendiz Alvarez $168.84
q. Jesus Rojas Maldonado $205.95
t Ramon Ruiz Landeros $99.38
S. Martin Ruiz Olanderos $65.41
5; The settlement proceeds and damages CCLP agrees to pay in Paragraphs 1,

2 and 4 above shall be made within thirty (30) days of the of the execution of this

Agreement and such sums shall constitute all sums due to be paid based upon the Court’s
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award and judgment in favor of the FLSA Plaintiffs, and the awards of trial attorney’s fees,
appellate attorney’s fees and litigation costs, inclusive of any claims for interest allegedly
due. Upon receipt of the settlement proceeds and before distributing any of said sums,
FLS shall file appropriate documentation acceptable to counsel fer CCLP which indicates
that the award of minimum wage damages to the FLSA Plaintiffs and the awards of
attorney’s fees and costs have been fully satisfied, and that the clerk may administratively
close the court file.

6. If the Court grants the Remaining Plaintiffs’ Motion for Entry of Judgment
(D.E. 309) prior to execution of this Agreement, the Remaining Plaintiffs shall file an
appropriate satisfaction of judgment acceptable to CCLP’s undersigned counsel prior to
distributing any of the damages and settlement proceeds. If the Remaining Plaintiffs’
Motion for Entry of Judgment remains pending as of the date of this Agreement’s
execution, counsel for Remaining Plaintiffs shall file a Local Rule 3.08 Notice informing
the Court that all pending issues in the litigation have been settled and requesting that the
case be administratively closed.

a This Agreement is and shall be binding upon and inure to the benefit of the
predecessors, successors, subsidiaries, affiliates, representatives, assigns, officers and
employees of each of the parties hereto, and in the case of the FLSA Plaintiffs, to their

respective heirs, executors and administrators.
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For the Remaining Plaintiffs, the FLSA Plaintiffs,

 

 

and for FLS:
fasth Kia ae sf, 2
Robert K. Dwyer Date Signed

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e-mail: Robert@Floridalegal.Org

For Consolidated Citrus Limited Partnership:

LE oe had

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